ORP DET ORD (l/15/16)



                                        IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA,                                          Case No. 6:06-cr-60011-AA

            v.
JOSEPH DIBEE                                                       ORDER OF DETENTION AFTER HEARING (18
                                                                   USC§ 3142(i))
--~-------------------~

i:i On motio~fthe Government involving an alleged:
            O'.l)isk to the safety of any other person or the community for cases involving crimes described in 18 USC§ 3142(f)(l)
            Gr serious risk defendant will flee;
       D serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or juror
       or attempt to do so,
D Upon consideration by the court sua sponte involving a:
       D serious risk defendant will flee;
       D serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or juror
       or attempt to do so,

Having considered the nature and circumstances of the offense charged, the weight of evidence against the defendant, the history and
characteristics of the defendant, and the nature and seriousness of the danger to any person and to the community that would be posed by the
defendant's release, the court finds that:
    //
0  The offense charged creates a rebuttable presumption in 18 USC § 3142(e) that no combination of conditions will reasonably assure the
safety 9f~he community.
    //

i:ef No condition or combination of conditions will reasonably assure the appearance of defendant as required due to:
    D Foreign citizenship and/or illegal alien       D In custody/serving sentence               D §ubstance use/abuse
                                                                                                 ITUnknown
    D ICE Detainer                                   D Outstanding warrant(s)
                                                         /~                                      family/employment/community ties
    D Deportation(s)                                ~Prior failure(s) to appear                  D .:Ynstable/no residence available
    D Multiple or false identifiers                 D Mental health issues                       Gr Information unverified/unverifiable
    D Aliases
    D Prior criminal history, D including drug/drug related offense, D including alcohol/alcohol related offense
    D !?!:ior supervi~ion failure~s), D Including illicit drug use, D including alcohol abuse
    GY:6ther:         / (' . It~
12f,No condition · combination of conditions will reasonably assure the safety of other persons and the community due to:
                        1
       /            1.
    rrNature of offense                                                   D Prior supervision failures
    D Arrest behavior                                                     D Substance use/abuse
    D Possession ofweapon(s)                                              D Mental health issues
    D Violent behavior                                                    D Alleged offense involves child pornography on the internet
    D Prior criminal history, D including drug/drug related offense,      D including alcohol/alcohol related offense
    D Prior supervision failure(s), D Including illicit drug use,         D including alcohol abuse
    D Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    _...
D Other (writ/serving federal or state s e n t e n c e ) : - - - - - - - - - - - - - - - - - - - - - - - - -
[£YDefendant has not rebutted by sufficient evidence to the contrary the presumption provided in 18 USC § 3142(e).
     ~·

5Yfhe defendant is detained without prejudice to further review by the court at a later date.
THEREFORE, IT IS ORDERED that:
      1.      Defendant is detained prior to trial;
      2.      Defendant is committed to the custody of the Attorney General for confinement in a corrections facility separated, as far
              as practicable, from persons awaiting or serving sentences or being held in custody pending appeal;
      3.      Defendant shall be afforded a reasonable opportunity for priv~te consultation with his counsel;
      4.      The superintendent of the corrections facility in which.defenpant is confin.ed.{ihall make the defendant available to the
         /    ~.nited States ¥arshal for the purpose of appearancein con1e~~ion [Vit~J!lny cryft proceeding.
    DATED: \,           dt c;tt?dcl~
                                1
                                       /   C, c·~*:> (8
                                             1
                                                                                :~4   c/ \... Jfy//.
                                                                         United States Magistratd1udge
                            v
                                                                                \_)
1 - DETENTION ORDER
